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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


BRIAN SMITH, individually                                     Case No. 3:18-cv-00135-SRU
and on behalf of all others similarly situated,

       Plaintiff,

vs.

LIFE VANTAGE CORPORATION,
DARREN JENSEN, JUSTIN ROSE,
and RYAN GOODWIN,

      Defendants.
___________________________________________________________________

                    NOTICE OF APPEARANCE OF J. BENJAMIN KING

       Notice is hereby given that J. Benjamin King is entering his appearance as counsel for

Plaintiff Brian Smith in all further proceedings in this cause of action and requests that all future

notices from the Court, copies and pleadings sent to the parties be sent to him at the following

address:

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Dated: May 7, 2018
                                       REID COLLINS & TSAI LLP

                                        /s/ J. Benjamin King
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                                       Counsel for Plaintiffs




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of May 7, 2018, a copy of the foregoing document

was filed electronically and served by mail on anyone able to accept electronic filing. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system or by mail

to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the court’s CM/ECF system.



                                                    /s/ J. Benjamin King
                                                       J. Benjamin King




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